          Case 1:23-cr-00257-TSC Document 26 Filed 08/10/23 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        *
                                                 *
         v.                                      *     CRIMINAL NO. 23-cr-257 (TSC)
                                                 *
 DONALD J. TRUMP,                                *
                                                 *
                 Defendant.                      *
                                                 *

          GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
          MOTION FOR EXCLUSION OF TIME UNDER SPEEDY TRIAL ACT

        The defendant’s Motion for Exclusion of Time Under Speedy Trial Act (ECF No. 18) is

unnecessary and premature, and fails to recognize that the Speedy Trial Act (Act) protects the

public’s strong interest in a speedy trial. The motion seeks to exclude time from August 3, 2023,

to August 28, 2023, but fails to recognize that all of the time since the defendant’s initial

appearance has already been and continues to be excluded under the Act. Similarly, the defendant

fails to acknowledge that one of his main bases for seeking to exclude time—that he will be “filing

numerous critical motions,” ECF No. 18 at 1—will, in and of itself, toll time. This is because a

speedy trial under the Act does not necessarily mean a trial within seventy days; rather, it means a

fair and efficient trial within a reasonable period of time, including appropriate exclusions for

reasons such as the time required for consideration of motions. The Court should deny the

defendant’s motion without prejudice and reconsider the issue of exclusion of time under the Act

when a trial date is set on August 28.

   I.         Background

        On August 1, 2023, a federal grand jury in the District of Columbia returned an indictment

charging the defendant with violations of 18 U.S.C. § 371 (Conspiracy to Defraud the United

States); 18 U.S.C. § 1512(k) (Conspiracy to Obstruct an Official Proceeding); 18 U.S.C.
           Case 1:23-cr-00257-TSC Document 26 Filed 08/10/23 Page 2 of 4




§§ 1512(c)(2) and 2 (Obstruction of and Attempt to Obstruct an Official Proceeding); and 18

U.S.C. § 241 (Conspiracy Against Rights). The defendant made his initial appearance and was

arraigned in the District of Columbia on August 3, and at that hearing, defense counsel made an

oral motion to exclude time under the Act. On August 4, the Government filed a motion seeking

the entry of a protective order in this case. See ECF No. 10. By Minute Order on August 7, the

Court took the Government’s motion and the defendant’s opposition under advisement pending a

hearing that has since been scheduled for August 11. In addition, the Court has ordered briefing

by the parties on a proposed trial date, with the Government’s brief due on August 10 and the

defendant’s due on August 17, with the expectation that the Court will consider these briefs and

determine a trial date on August 28. See 8/4/2023 Minute Order.

   II.      Argument

         The Court should deny the defendant’s motion because the specific relief requested—the

exclusion of time between the August 3 initial appearance and August 28 scheduled hearing—

already will occur under the operation of other provisions of the Act. August 3 itself is excluded

from the seventy-day period. See 18 U.S.C. § 3161(c)(1) (“the trial of a defendant . . . shall

commence within seventy days . . . from the date the defendant has appeared before a judicial

officer of the court in which such charge is pending); Fed. R. Crim. Proc. 45(a)(1)(A) (excluding

“the day of the event that triggers the period”—here, the date of the initial appearance and

arraignment—from the seventy-day clock). August 4 through at least August 11 will be excluded

by operation of the defendant’s oral motion for a speedy trial made on August 3; the Government’s

motion for a protective order, ECF No. 10; and the defendant’s written motion for a speedy trial,

ECF No. 18. See 18 U.S.C. § 3161(h)(1)(D) (providing that any “delay resulting from any pretrial

motion, from the filing of the motion through the conclusion of the hearing on, or other prompt




                                              -2-
          Case 1:23-cr-00257-TSC Document 26 Filed 08/10/23 Page 3 of 4




disposition of, such motion” “shall be excluded . . . in computing the time within which the trial .

. . must commence”); United States v. Gonzalez-Rodriguez, 621 F.3d 354, 368-69 (5th Cir. 2010)

(finding no difference, for Speedy Trial Act purposes, between a written and oral motion). August

10 through at least August 28 will be excluded because of the Government’s two scheduling-

related pleadings filed concurrent with this opposition brief (ECF Nos. 23 and 25). Therefore, it

is unnecessary to grant the defendant’s requested relief, since the exclusions already exist by

operation of the Act.

       More generally, the defendant’s motion fails to recognize that the Act and the Sixth

Amendment protect not only the defendant’s rights, but also the public’s strong interest in the

efficient administration of justice. See Barker v. Wingo, 407 U.S. 514, 519 (1972) (“there is a

societal interest in providing a speedy trial which exists separate from, and at times in opposition

to, the interests of the accused.”).    To this end, none of the defendant’s perfunctory and

undeveloped arguments justify the Court’s exclusion of time at this juncture of the case. The

defendant cites his need to review discovery, ECF No. 18 at 1, but the defense has steadfastly

refused to accept the discovery that the Government has prepared and organized to facilitate the

defense’s review; his speculative claims about the time he might need to review discovery that he

has not yet assessed does not justify exclusion of time. Next, the defendant claims to need

exclusion of time because “this matter raises significant constitutional issues, and other novel

questions of law and fact” and the defendant plans to file “numerous critical motions.” But the

Act has built-in exclusions of time for precisely this circumstance, and when the defense files its

motions, time will be excluded under 18 U.S.C. § 3161(h)(1)(D). In sum, as the Court “seriously

weigh[s] . . . the strong public and private interests served by speedy trials,” United States v.

Bryant, 523 F.3d 349, 361 (D.C. Cir. 2008), the defendant’s claimed speculative interests in delay




                                               -3-
            Case 1:23-cr-00257-TSC Document 26 Filed 08/10/23 Page 4 of 4




cannot outweigh the public’s singularly strong interest in a speedy trial.

   III.      Conclusion

          The defendant moves for the exclusion of time—between his initial appearance and the

hearing on August 28—that the Act already has provided by its own terms. The Court should deny

the request without prejudice because it is unnecessary. Then, if at the August 28 hearing the

defense again moves for exclusion of time, the Court should assess the argument anew, but as part

of the required balancing of interests, including the public’s strong interest in a speedy trial.



                                                       Respectfully submitted,

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